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                                                                2600 Eagan Woods Dr, Suite 400                60 East 42nd Street, 46th Floor
                                                                St. Paul, MN 55121                                      New York, NY 10165
                                                                651-406-9665                                                  212-267-7342

Defendant:                 Frank Gordon Food Service, Inc.
Bankruptcy Case:           Dean Foods Company, et al.
Preference Period:         Aug 14, 2019 - Nov 12, 2019
                                             Transfers During Preference Period and Post Petition

                       Debtor(s) Incurring
Debtor Transferor(s)    Antecedent Debt       Check Number    Check Amt      Clear Date    Invoice Number        Invoice Date      Invoice Amt

 Preference Period Transfer(s)
Dean Foods                Dean Foods             1503298       $546.67       8/14/2019       195699271           7/22/2019            $546.67
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1505196       $225.67       8/19/2019       195779993           7/25/2019             $43.46
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1505196       $225.67       8/19/2019       816131916           7/25/2019             $48.24
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1505196       $225.67       8/19/2019       816131917           7/25/2019            $133.97
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1506405      $1,802.36      8/21/2019       195848698           7/29/2019           $1,802.36
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1507919      $1,195.48      8/26/2019       195932567            8/1/2019           $1,195.48
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064192350    $557.58       8/26/2019    O/A:PC24906419235                           $557.58
Company                  Company and          78369803440                                   078369803440
                       Country Fresh, LLC
Dean Foods                Dean Foods             1510160       $621.54       9/3/2019        196092625            8/8/2019            $621.54
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1510605       $782.10       9/4/2019        196170906           8/12/2019            $743.64
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1510605       $782.10       9/4/2019        196170918           8/12/2019             $38.46
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1511629       $529.38       9/5/2019        816132436           8/13/2019            $126.79
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1511629       $529.38       9/5/2019        816132437           8/13/2019            $402.59
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064192470   $1,045.03      9/5/2019     O/A:PC24906419247                          $1,045.03
Company                  Company and          79017310693                                   079017310693
                       Country Fresh, LLC
Dean Foods                Dean Foods             1512355       $766.08       9/9/2019        196260563           8/15/2019            $453.18
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1512355       $766.08       9/9/2019        196260571           8/15/2019            $312.90
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1513532       $568.88       9/11/2019       196334310           8/19/2019            $568.88
Company                  Company and
                       Country Fresh, LLC


Frank Gordon Food Service, Inc. (2243109)
Bankruptcy Case: Dean Foods Company, et al.
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                                             Transfers During Preference Period and Post Petition

                       Debtor(s) Incurring
Debtor Transferor(s)    Antecedent Debt       Check Number    Check Amt     Clear Date    Invoice Number     Invoice Date   Invoice Amt
Dean Foods                Dean Foods             1514420        $71.28      9/13/2019       816132647        8/21/2019          $71.28
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064192560   $1,291.92     9/16/2019    O/A:PC24906419256                   $1,291.92
Company                  Company and          79488965478                                  079488965478
                       Country Fresh, LLC
Dean Foods                Dean Foods             1516842       $696.38      9/18/2019       196505091        8/26/2019         $696.38
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1517647        $73.97      9/20/2019       816131050        6/28/2019          $73.97
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064192620   $1,226.47     9/20/2019    O/A:PC24906419262                   $1,226.47
Company                  Company and          79800962148                                  079800962148
                       Country Fresh, LLC
Dean Foods                Dean Foods             1517961       $939.95      9/23/2019       816132803        8/29/2019          $81.50
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1517961       $939.95      9/23/2019       196005013         8/5/2019         $858.45
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1518421       $563.16      9/24/2019       816132845        8/31/2019         $563.16
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064192680   $1,665.44     9/26/2019    O/A:PC24906419268                   $1,665.44
Company                  Company and          80097202135                                  080097202135
                       Country Fresh, LLC
Dean Foods                Dean Foods             1520475       $381.63      9/27/2019       816132950         9/4/2019          $83.32
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1520475       $381.63      9/27/2019       816132951         9/4/2019          $53.81
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1520475       $381.63      9/27/2019       816132928         9/4/2019         $244.50
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1520796       $749.92      9/30/2019       196762491         9/5/2019         $749.92
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1522005       $505.67      10/2/2019       196849367         9/9/2019         $505.67
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064192760   $1,562.06     10/4/2019    O/A:PC24906419276                   $1,562.06
Company                  Company and          80562979431                                  080562979431
                       Country Fresh, LLC
Dean Foods                Dean Foods             1524511       $584.14      10/9/2019       197025958        9/16/2019         $584.14
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1525797       $827.33      10/15/2019      197121481        9/19/2019         $520.52
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods             1525797       $827.33      10/15/2019      197121504        9/19/2019         $306.81
Company                  Company and
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064192890    $481.53      10/17/2019   O/A:PC24906419289                     $481.53
Company                  Company and          81222215757                                  081222215757
                       Country Fresh, LLC



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                                             Transfers During Preference Period and Post Petition

                       Debtor(s) Incurring
Debtor Transferor(s)    Antecedent Debt       Check Number    Check Amt     Clear Date    Invoice Number     Invoice Date   Invoice Amt
Dean Foods                Dean Foods         PC249064193030    $485.38      10/31/2019   O/A:PC24906419303                     $485.38
Company                  Company and          81946889830                                  081946889830
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064193150    $676.40      11/12/2019   O/A:PC24906419315                     $676.40
Company                  Company and          82628781903                                  082628781903
                       Country Fresh, LLC
 28 Preference Period transfer(s), $21,423.40
 Post Petition Transfer(s)
Dean Foods                Dean Foods         PC249064193240    $204.77      11/21/2019   O/A:PC24906419324                     $204.77
Company                  Company and          83175787094                                  083175787094
                       Country Fresh, LLC
Dean Foods                Dean Foods         PC249064193300    $101.22      11/27/2019   O/A:PC24906419330                     $101.22
Company                  Company and          83520271580                                  083520271580
                       Country Fresh, LLC
 2 Post Petition transfer(s), $305.99

 Totals: 30 transfer(s), $21,729.39




Frank Gordon Food Service, Inc. (2243109)
Bankruptcy Case: Dean Foods Company, et al.
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